Case: 1:21-cv-02653 Document #: 4 Filed: 05/26/21 Page 1 of 2 PagelID #:12

D TBRS\DISTRICT CO
No FERN DISTRICT OF ILLINOIS

AQ 440 (Rev. 05/00) Summons in a Civil Action

 

 

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SUMMONS IN A CIVIL CASE
JENNA N: TAFT
CASE NUMBER: 1:21-cv-02653
Vv. ASSIGNED JUDGE: john Z. Lee
HEALTHCARE REVENUE RECOVERY DESIGNATED

GROUP, LLC d/b/a ARS ACCOUNT

MAGISTRATE JUDGE: il R. jani
RESOLUTION SERVICES Sunil R Harjant

TO: (Name and address of Defendant)

Healthcare Revenue Recovery Group, LLC
d/b/a ARS Account Resolution Services

c/o Illinois Corporation Service Corporation
801 Adlai Stevenson Dr.

Springfield, IL 62703

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Joseph S. Davidson

LAW OFFICES OF JOSEPH P. DOYLE, LLC
105 S. Roselle Rd.

Suite 203

Schaumburg, IL 60193

‘ 5,56 P 21 ‘ .
an answer to the complaint which is herewith served upon you, days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

     

 

 

May 19, 2021

(By) DEPUTY CLER DATE

 
Case: 1:21-cv-02653 Document #: 4 Filed: 05/26/21 Page 2 of.2-PageID #:13

ClientCaselD: 63058 CaseReturnDate: 5/24/21

Affidavit of A PRIVATE INVESTIGATOR

 

UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS

Case Number 4-94_CV-02653
|, JOHN PENNELL

FIRST DULY SWORN ON OATH STATES THAT | AM OVER 18 YEARS OF AGE AND NOT A PARTY TO THIS SUIT AND
LICENSED AS A PRIVATE DETECTIVE (LICENSE # 115.002074) UNDER THE PRIVATE DETECTIVE ACT OF 2004.

CORPORATE SERVICE

 

THAT | SERVED THE WITHIN SUMMONS & COMPLAINT

ON THE WITHIN NAMED BEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC.
PERSON SERVED ETHAN SMITH, AUTHORIZED AGENT

BY LEAVING A COPY OF EACH WITH THE SAID DEFENDANT ON 5/24/21

That the sex, race and approximate age of the whom I leftthe SUMMONS & COMPLAINT
are as follow:

Sex MALE Race WHITE Age 19 Height  6'2" Build 230# "Hair = BRN

LOCATION OF SERVICE 894 ADLAI STEVENSON DR. ’
SPRINGFIELD, IL, 62703

Date Of Service = 5/24/24 Time of Service 3:40 PM

  
   

A PRIVATE INVESTIGATOR
PRIVATE DECTECTIVE # 115.002074

 

 
